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TNW Savoy, R.aymond `
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1:05-010032-001 7
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18. Other Expemes (nther than uperv, lrmscrhm, ete.) _

 

 

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18. SIGNATU`RE OF THE PRESIDING JUDICIAL OFFICER DATE III. J'UDGE/ MAG. -HJDGE CODE
29. lN COURT COMP. 30. OUT OF COUR'I` COM]'. 31. TRAVEL E_XI’ENSES 31. OTIIER EX]’ENSES 33. TOTAL AM’I'. AP?ROVED
34. SlGNATURE OF CHIEF JUDGE, COU`R'I' OF APP EAI.S (OR DELEGATE) hymen ` DATE 341. JU`DGE CODE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:05-CR-10032 Was distributed by faX, mail, or direct printing on
May ]0, 2005 to the parties listed.

 

 

J_ Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave_

Ste_ 200

Memphis7 TN 38103

Richard Leigh Grinalds

U_S_ ATTORNEY'S OFFICE
109 S_ Highland Ave_

Ste_ 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

